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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


  STEPHEN C. GRATZ                               )
                                                 )
         Plaintiff,                              )
                                                 )
  v.                                             )              Case No. 3:18-cv-645-REP
                                                 )
                                                 )
  DIANE GRATZ a/k/a                              )
       DIANA GRATZ                               )
                                                 )
         Defendant.                              )
                                                 )


                      DECLARATION OF STEPHEN C. GRATZ
         I, Stephen C. Gratz, under penalty of perjury, do hereby depose and testify as

  follows:

         1.      I have personal knowledge of the facts stated below in this Declaration. I

  am over the age of 18 years, and am competent to testify concerning the matters herein.

         2.      I am the Plaintiff in this action.

         3.      On September 21, 2018, I filed my complaint against Diane Gratz

  (“Diane”) in this matter. On January 22, 2019, I filed an amended complaint. Prior to

  filing, I reviewed both my original complaint and my amended complaint. The amended

  complaint is a truthful and accurate statement of the facts as I know them and is based

  upon personal knowledge.

         4.      I affirm that the facts stated in my amended complaint, which are restated

  and incorporated herein by reference, are truthful and accurate to the best of my

  knowledge and belief, based upon my personal knowledge and experience, documents

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  and records in my possession, my personal interactions with George Otto Gratz

  (“George”), and emails, text messages, documents and information in my possession.

         5.     I have reviewed my Memorandum in Opposition to Diane’s motion to

  dismiss to which this Declaration will be attached. I affirm that the facts stated in my

  Opposition are truthful and accurate to the best of my knowledge and belief.

         In accordance with 28 U.S.C. § 1746, I declare, certify, verify, and state

  under penalty of perjury that the foregoing is true and correct.

         Executed in Charlottesville, Virginia, on February 22, 2019.




                                              /s/ Stephen C. Gratz
                                              STEPHEN C. GRATZ




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